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                       W. Caine - Filed Under Seal Page 1 of 1



                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF LOUISIANA

  In re:                                   )
                                           )   Case No. 20-10846
  THE ROMAN CATHOLIC CHURCH OF             )
  THE ARCHDIOCESE OF NEW ORLEANS           )   Section “A”
                                           )
               Debtor.                     )   Chapter 11



                         DECLARATION OF ANDREW W. CAINE


                            FILED UNDER SEAL
